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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                            HAMMOND DIVISION


 UNITED STATES OF AMERICA,              )
                                        )
            v.                          ) CAUSE NO. 2:07 CR 25
                                        )
 ANGELA DIANE BENNETT                   )
 JOSE JAVIER LOERA, JR.                 )


                            OPINION AND ORDER

       This matter is before the court on the Motion for Severance

 filed by the defendant, Jose Javier Loera, Jr., on April 4, 2007.

 For the reasons set forth below, the motion is DENIED.

                                Background

       On December 14, 2004, Angela Bennett was driving a Ford

 Explorer and her boyfriend, co-defendant Jose Javier Loera, Jr.,

 was a passenger.    After a routine traffic stop, Bennett gave the

 police officer permission to search the vehicle.            With the

 assistance of a trained narcotics dog, the police discovered a

 hidden compartment with 21 kilograms of cocaine.

       Neither Bennett nor Loera was the owner of the vehicle.

 Although the defendants gave conflicting stories concerning their

 whereabouts and their destination, both defendants denied any

 knowledge of the hidden compartment containing the cocaine.                In

 particular, Bennett never gave a statement attributing the

 cocaine to Loera.

       This matter currently is set for trial April 30, 2007.               In

 his motion, Loera maintains that Bennett has indicated a willing-

 ness to testify at trial and that her testimony would prejudice

 his decision to remain silent.
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                                Discussion

       Federal Rule of Criminal Procedure 14 provides:

            If it appears that a defendant or the govern-
            ment is prejudiced by a joinder of offenses
            or of defendants in an indictment or informa-
            tion or by such joinder for trial together,
            the court may order an election or separate
            trials of counts, grant a severance of defen-
            dants or provide whatever other relief jus-
            tice requires. . . .

 Loera alleges that a severance is required because Bennett gave a

 written statement to the police, the statement would be admissi-

 ble if she testified, and her testimony would highlight the

 defendant's right to remain silent.

       Loera has not alleged sufficient prejudice to require sepa-

 rate trials.    In United States v. Ramirez, 45 F.3d 1096 (7th Cir.

 1995), the Court of Appeals stated:

            There is a presumption that co-conspirators
            who are indicted together are properly tried
            together. Where defendants are properly
            joined under Federal Rule of Criminal Proce-
            dure 8(b), a district court should grant a
            severance only if there is a serious risk
            that a joint trial would compromise a specif-
            ic trial right of one of the defendants, or
            prevent the jury from making a reliable judg-
            ment about guilt or innocence.

            45 F.3d at 1100

 See also United States v. Carrillo, 435 F.3d 767, 778 (7th Cir.
 2006) ("The preference is for a joint trial of defendants who

 were indicted together . . . ."); United States v. Rollins, 301

 F.3d 511, 518 (7th Cir. 2002)("a defendant must demonstrate that

 the denial of severance caused him 'actual prejudice' that

 deprived him of his right to a fair trial; it is insufficient


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 that separate trials would have given a defendant a better oppor-

 tunity for an acquittal"); United States v. Phillips, 239 F.3d

 829, 838 (7th Cir. 2001); United States v. Mietus, 237 F.3d 866,

 873 (7th Cir. 2001).

        Because Bennett is not expected to implicate Loera in her

 testimony, this motion to sever does not involve a typical

 antagonistic defense.     In a general sense, however, Loera is

 claiming that Bennett's defense would be prejudicial to him.

       Even if Bennett's trial strategy is considered antagonistic

 to Loera, "[t]he mere presence of mutually antagonistic defenses

 does not require severance."      Carrillo, 435 F.3d at 778.              If

 Loera is concerned that the jury may draw an adverse inference

 from his silence, he can request a cautionary instruction.

 Carrillo, 435 F.3d at 779; United States v. McClurge, 311 F.3d
 866, 872 (7th Cir. 2002); United States v. Alpern, 564 F.2d 755,

 761 (7th Cir. 1977).    See generally Wright, Federal Practice and
 Procedure: Criminal 3d §225.
       For the foregoing reasons, the Motion for Severance filed by

 the defendant, Jose Javier Loera, Jr., on April 4, 2007, is

 DENIED.


       ENTERED this 18th day of April, 2007




                                   s/ ANDREW P. RODOVICH
                                      United States Magistrate Judge




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